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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SUSMAN GODFREY LLP,

                     Plaintiff,
                                                     No. 1:25-cv-1107-LLA
 v.

 EXECUTIVE OFFICE OF THE PRESIDENT, et
 al.,

                     Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s Order of April 15, 2025 (Dkt. 15), the parties hereby submit the

following Joint Status Report.

       1.      On April 15, 2025, the Court ordered that the “parties shall file a joint status

report on or before 5:00 p.m. on Wednesday, April 16, 2025, proposing a schedule to govern

further proceedings in this case.” Dkt. No. 15 at 3.

       2.      The parties have met and conferred and jointly propose that the Court proceed to

expedited dispositive motions briefing. Plaintiff Susman Godfrey LLP intends to move for

summary judgment. Defendants intend to move to dismiss.

       3.      The parties respectfully propose the following schedule to govern briefing and

argument on the parties’ dispositive motions:

       Opening briefs                 April 23, 2025

       Oppositions                    April 30, 2025

       Replies                        May 5, 2025

       Hearing                        May 7, 2025




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       4.      All parties have also agreed to extend the Temporary Restraining Order issued by

this Court on April 15, 2025 (Dkt. 15) until final judgment. See Fed. R. Civ. P. 65(b)(2).

       5.      Based on their joint proposal and agreement, the parties have attached a proposed

order to govern further proceedings.



Dated: April 16, 2025                        Respectfully submitted,


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